                        Case 13-33965                        Doc 1         Filed 08/26/13 Entered 08/26/13 19:57:44                                                  Desc Main
                                                                             Document     Page 1 of 62
B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                                         Northern District of Illinois                                                                            Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                Name of Joint Debtor (Spouse) (Last, First, Middle):
  Barsanti Woodwork Corporation


All Other Names used by the Debtor in the last 8 years                                                     All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                              (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                                Street Address of Joint Debtor (No. and Street, City, and State):
  3838 West 51st Street
  Chicago, IL
                                                                                          ZIP Code                                                                                        ZIP Code
                                                                                        60632
County of Residence or of the Principal Place of Business:                                                 County of Residence or of the Principal Place of Business:
  Cook
Mailing Address of Debtor (if different from street address):                                              Mailing Address of Joint Debtor (if different from street address):


                                                                                          ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                      Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                              (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                           Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                         Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                           Chapter 9
     Corporation (includes LLC and LLP)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                           Chapter 11
     Partnership                                                   Railroad
                                                                                                                           Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,            Stockbroker
                                                                                                                           Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)               Commodity Broker
                                                                   Clearing Bank
                                                                   Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                          Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                         (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                   Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                      under Title 26 of the United States                    "incurred by an individual primarily for
                                                                   Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                   Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must            Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                  are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                             Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                  in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                   THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-          200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199           999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                  million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to   $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000      to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                  million    million      million        million       million
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B1 (Official Form 1)(12/11)                                                                                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Barsanti Woodwork Corporation
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                  Document     Page 3 of 62
B1 (Official Form 1)(12/11)                                                                                                                                             Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Barsanti Woodwork Corporation
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ Thomas R. Fawkes                                                                        chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Thomas R. Fawkes                                                                         debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Freeborn & Peters LLP
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      311 South Wacker Drive
      Suite 3000                                                                               Social-Security number (If the bankrutpcy petition preparer is not
      Chicago, IL 60606                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (312) 360-6000 Fax: (312) 360-6520
     Telephone Number
     August 26, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X /s/ Paul Kelly
     Signature of Authorized Individual
      Paul Kelly                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      President                                                                                A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.
      August 26, 2013
     Date
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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                   Northern District of Illinois
 In re          Barsanti Woodwork Corporation                                                              Case No.
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                       7




                                                              SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                          ATTACHED          NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                        (YES/NO)         SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             3                         0.00


C - Property Claimed as Exempt                            No              0


D - Creditors Holding Secured Claims                      Yes             1                                      1,582,955.73


E - Creditors Holding Unsecured                           Yes             3                                          418,499.03
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             20                                     1,160,043.12
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          No              0                                                                        N/A
    Debtor(s)

J - Current Expenditures of Individual                    No              0                                                                        N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                30


                                                                    Total Assets                    0.00


                                                                                     Total Liabilities           3,161,497.88




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                   Northern District of Illinois
 In re           Barsanti Woodwork Corporation                                                               Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                             Chapter                      7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)

             Student Loan Obligations (from Schedule F)

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)

                                                                            TOTAL


             State the following:

             Average Income (from Schedule I, Line 16)


             Average Expenses (from Schedule J, Line 18)

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column

             4. Total from Schedule F


             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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 In re         Barsanti Woodwork Corporation                                                              Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption




                      None




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                      Total >                 0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Barsanti Woodwork Corporation                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                   SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial            X
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                X
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                X

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Barsanti Woodwork Corporation                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Barsanti Woodwork Corporation                                                                     Case No.
                                                                                                     ,
                                                                                    Debtor

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                X
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >                 0.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
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                                                                  Document     Page 10 of 62
 B6D (Official Form 6D) (12/07)


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  In re         Barsanti Woodwork Corporation                                                                             Case No.
                                                                                                            ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W               NATURE OF LIEN, AND                       I    Q   U                             PORTION, IF
                                                        T   J              DESCRIPTION AND VALUE                      N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                   OF PROPERTY
                                                        R
                                                                               SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No.                                                                                                                E
                                                                                                                           D

BWC Capital LLC
687 Clear Creek Drive
Osprey, FL 34229
                                                            -

                                                                Value $                                   0.00                        1,582,955.73             1,582,955.73
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                    1,582,955.73             1,582,955.73
                                                                                                         (Total of this page)
                                                                                                                     Total            1,582,955.73             1,582,955.73
                                                                                           (Report on Summary of Schedules)

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 In re         Barsanti Woodwork Corporation                                                                                      Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            2         continuation sheets attached
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  In re         Barsanti Woodwork Corporation                                                                           Case No.
                                                                                                           ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                                                                   Wages, salaries, and commissions
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                               AMOUNT
                                                        O                                                           G    I   E                            ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                             PRIORITY
                                                                                                                    T    T
Account No.                                                     Dues                                                     E
                                                                                                                         D

Chicago Regional Council Carpenters
12 East Erie Street                                                                                                                                 7,077.71
Chicago, IL 60611
                                                            -

                                                                                                                                       18,802.71            11,725.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    2
            of _____  continuation sheets attached to                                                            Subtotal                           7,077.71
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)           18,802.71            11,725.00




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  In re         Barsanti Woodwork Corporation                                                                            Case No.
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                                                                               E
                                                                                                                          D

Federal Unemployment
Department of the Treasury                                                                                                                           0.00
Internal Revenue Service
                                                            -
Cincinnati, OH 45999-0046

                                                                                                                                         2,046.02              2,046.02
Account No.

IL Dept Employment Service
1700 West 18th Street                                                                                                                                58,832.96
Chicago, IL 60608
                                                            -

                                                                                                                                        70,557.96            11,725.00
Account No.

IL Sales Tax
Illinois Department of Revenue                                                                                                                       0.00
P.O. Box 19034
                                                            -
Springfield, IL 62794-9034

                                                                                                                                        22,147.34            22,147.34
Account No.                                                     Withholding

Illinois Department of Revenue
100 West Randolph Street                                                                                                                             0.00
Chicago, IL 60601-8866
                                                            -

                                                                                                                                       108,521.00           108,521.00
Account No.

Internal Revenue Service
Cincinnati, OH 45202                                                                                                                                 196,424.00

                                                            -

                                                                                                                                       196,424.00                    0.00
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                             Subtotal                           255,256.96
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)          399,696.32           144,439.36
                                                                                                                     Total                           262,334.67
                                                                                           (Report on Summary of Schedules)            418,499.03         156,164.36

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  In re         Barsanti Woodwork Corporation                                                                            Case No.
                                                                                                               ,
                                                                                             Debtor


              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                                                                                 T   T
                                                                                                                                                E
                                                                                                                                                D

A-1 Sanitary Rag Company
3166 South River Road                                                     -
Suite 25
Des Plaines, IL 60018
                                                                                                                                                                         307.83
Account No.

AAA Design, Inc.
2227 South St. Louis Avenue                                               -
Chicago, IL 60623

                                                                                                                                                                       2,050.00
Account No.

Adelman & Gettleman
53 West Jackson                                                           -
Suite 1050
Chicago, IL 60604
                                                                                                                                                                       4,326.60
Account No.

Adminstrative Retiremen
2S.545 IL Route 53                                                        -
Glen Ellyn, IL 60137

                                                                                                                                                                       1,550.00

                                                                                                                                        Subtotal
 19 continuation sheets attached
_____                                                                                                                                                                  8,234.43
                                                                                                                              (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Advantage Glass
70 Rawls Road                                                             -
Des Plaines, IL 60018

                                                                                                                                                            334.05
Account No.

Aetna Plywood, Inc.
P.O. Box 774315                                                           -
4315 Solution Center
Chicago, IL 60677-4003
                                                                                                                                                            194.00
Account No.

Affordable Cabinets
1550 West Fullerton                                                       -
Unit B
Addison, IL 60101
                                                                                                                                                          3,008.00
Account No.

All Tile, Inc.
1111 Chase Grove Village                                                  -
Elk Grove Village, IL 60007

                                                                                                                                                            225.80
Account No.

American Funds
Finance and Accounting                                                    -
P.O. Box 659530
San Antonio, TX 78265-9530
                                                                                                                                                            375.00

           1
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          4,136.85
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

AMSI, an Infor Company
NW 5421                                                                   -
P.O. Box 1450
Minneapolis, MN 55485-5421
                                                                                                                                                          6,733.13
Account No.

Architectual Grille
42-Second Avenue                                                          -
Brooklyn, NY 11215

                                                                                                                                                          7,666.00
Account No.

Ashland Propane Inc.
16525 Vincennes Avenue                                                    -
P.O. Box 1108
South Holland, IL 60473-7108
                                                                                                                                                            295.51
Account No.

AT&T
P.O. Box 8100                                                             -
Aurora, IL 60507-8100

                                                                                                                                                            279.76
Account No.

Baer Supply / Wurth
8927 South Octavia Avenue                                                 -
Bridgeview, IL 60455

                                                                                                                                                        10,450.31

           2
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        25,424.71
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Breaker Press Co. Inc.
2421 South Western Avenue                                                 -
Chicago, IL 60608

                                                                                                                                                            808.00
Account No.

Bull Sharpening
6332 West Roosevelt Road                                                  -
Oak Park, IL 60304

                                                                                                                                                            530.26
Account No.

C & H Distributors
22133 Network Place                                                       -
Chicago, IL 60673

                                                                                                                                                          1,188.30
Account No.

Capitol Hardware Mfg. Co.
L&P Financial Services                                                    -
P.O. Box 952092
Saint Louis, MO 63195-2092
                                                                                                                                                            877.75
Account No.

Century Door
1301 Landmeier Road                                                       -
Elk Grove Village, IL 60007

                                                                                                                                                          1,226.40

           3
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          4,630.71
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Charles Horn Lumber Co.
2440 South Damen Avenue                                                   -
Chicago, IL 60608

                                                                                                                                                          8,800.91
Account No.

Chicago Fireplace & Chimney
7015 West North Avenue                                                    -
Oak Park, IL 60302

                                                                                                                                                          1,280.00
Account No.                                                                   8/13/2013
                                                                              Judgment Order
Chicago Regional Council of
Carpenters Pension Fund                                                   -
12 East Erie Street
Chicago, IL 60611
                                                                                                                                                      352,377.29
Account No.

Chicago Tribune
Attn: Photo Sales                                                         -
425 North Michigan Avenue
Chicago, IL 60611
                                                                                                                                                            679.00
Account No.

Citi AT&T Universal Card
Processing Center                                                         -
Des Moines, IA 50363

                                                                                                                                                        13,913.39

           4
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                      377,050.59
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
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Account No.                                                                                                                           E
                                                                                                                                      D

Citibank AAdvantage
P.O. Box 688901                                                           -
Des Moines, IA 50368-8909

                                                                                                                                                          2,946.62
Account No.

City of Chicago
Department of Revenue                                                     -
8212 Innovation Way
Chicago, IL 60682-0082
                                                                                                                                                            295.00
Account No.

City of Chicago
Water Management                                                          -
P.O. Box 6330
Chicago, IL 60680-6330
                                                                                                                                                          1,630.75
Account No.

Clark & Barrow
353 West Grand Avenue                                                     -
Chicago, IL 60610

                                                                                                                                                            622.72
Account No.

Coca-Cola Bottling Co.
Lake Shore Division                                                       -
2335 Paysphere Circle
Chicago, IL 60674
                                                                                                                                                            345.74

           5
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          5,840.83
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Comed
P.O. Box 6111                                                             -
Carol Stream, IL 60197-6111

                                                                                                                                                          8,378.81
Account No.

Commercial Interiors
631 Lunt Avenue                                                           -
Schaumburg, IL 60193

                                                                                                                                                            664.00
Account No.

Computer Network Doctor
825 Tamarack Drive                                                        -
Algonquin, IL 60102

                                                                                                                                                          2,499.64
Account No.

Concentra Medical Center
P.O. Box 488                                                              -
Lombard, IL 60148

                                                                                                                                                            279.03
Account No.

Crowe Chizek
P.O. Box 145415                                                           -
Cincinnati, OH 45250-9791

                                                                                                                                                          7,500.00

           6
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        19,321.48
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Cushing and Company
Dept. 10161                                                               -
P.O. Box 87618
Chicago, IL 60680-0618
                                                                                                                                                          2,508.40
Account No.

Custom Brokers's Supply
P.O. Box 1817                                                             -
Palatine, IL 60078

                                                                                                                                                            495.60
Account No.

Defrees & Fiske
200 South Michegan Avenue                                                 -
Suite 1100
Chicago, IL 60604
                                                                                                                                                          8,171.50
Account No.

Denker & Muscarello, LLC
4N701 School Road                                                         -
Saint Charles, IL 60175

                                                                                                                                                            926.07
Account No.

Dooge Veneers Inc.
4585 Airwest S.E.                                                         -
Grand Rapids, MI 49512

                                                                                                                                                          6,547.97

           7
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        18,649.54
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

E Kinast / Richelieu
6350 Church Road                                                          -
Hanover Park, IL 60133

                                                                                                                                                          3,550.48
Account No.                                                                   Notes Payable

Gene Barsanti
900 Clinton Place                                                         -
River Forest, IL 60305

                                                                                                                                                        20,228.00
Account No.

General Cutting Tools
6440 North Ridgeway Avenue                                                -
Lincolnwood, IL 60712

                                                                                                                                                          2,650.29
Account No.

GHC Mechanical Inc.
990 Pauly Drive                                                           -
Elk Grove Village, IL 60007

                                                                                                                                                            406.44
Account No.

Hafele America
P.O. Box 890779                                                           -
Charlotte, NC 28289-0779

                                                                                                                                                          1,578.60

           8
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        28,413.81
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Judgment                                                E
                                                                                                                                      D

Hank's Blue Print
7355 West Archer Avenue                                                   -
Suite G
Summit Argo, IL 60501
                                                                                                                                                          4,379.50
Account No.

Harris Equipment
2010 North Ruby Street                                                    -
Melrose Park, IL 60160

                                                                                                                                                            380.62
Account No.

Hinckley & Schmitt inc.
Attn: Donna                                                               -
P.O. Box 1888
60499-1888
                                                                                                                                                              99.12
Account No.

IDM Group
832 West Erie Street                                                      -
Chicago, IL 60632

                                                                                                                                                            747.02
Account No.

Inpro Corporation
c/o Teller Levit Silvertrust                                              -
19 South LaSalle Street, Suite 701
Chicago, IL 60603
                                                                                                                                                          6,639.00

           9
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        12,245.26
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Institutional Equipment
704 Veterans Parkway                                                      -
Unit B
Bolingbrook, IL 60440-4948
                                                                                                                                                            150.99
Account No.

Ironmonger Inc.
122 West Illinois Street                                                  -
Chicago, IL 60610-4506

                                                                                                                                                            927.04
Account No.

Knoll Textiles
P.O. Box 841366                                                           -
Dallas, TX 75284-1366

                                                                                                                                                            828.18
Account No.

L-K Fire Extinguisher
4016 South Clinton Avenue                                                 -
Berwyn, IL 60402

                                                                                                                                                            643.87
Account No.

La Force
1060 West Mason Street                                                    -
P.O. Box 10068
Green Bay, WI 54307
                                                                                                                                                          3,046.00

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Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          5,596.08
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Leonard V. Stutz
Plumbing & Heating                                                        -
272 West Lake Street
Elmhurst, IL 60126
                                                                                                                                                            114.00
Account No.

Leyden L.S. Inc.
P.O. Box 5037                                                             -
Glendale Heights, IL 60139-5037

                                                                                                                                                            359.00
Account No.

M.J. Millwork Inc.
1375 Paramount Parkway                                                    -
Batavia, IL 60510

                                                                                                                                                          1,035.40
Account No.

Macke Water System
P.O. Box 545                                                              -
Glendale Heights, IL 60139-5037

                                                                                                                                                            575.42
Account No.

Mailfinance
25881 Network Place                                                       -
Chicago, IL 60673-1258

                                                                                                                                                          1,803.42

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Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          3,887.24
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Metal Creations Inc.
2444 North Pulaski Road                                                   -
Chicago, IL 60639-2114

                                                                                                                                                          1,506.94
Account No.

Midwest Saw, Inc.
850 Meadowview Crossing                                                   -
Unit #4
West Chicago, IL 60185
                                                                                                                                                              84.50
Account No.

Midwest Time Recorder Inc.
7964 South Madison Street                                                 -
Burr Ridge, IL 60521-5806

                                                                                                                                                          1,255.79
Account No.

Missouri Equipment Co.
2222 North 9th Street                                                     -
Saint Louis, MO 63102

                                                                                                                                                        16,088.20
Account No.

Moulding & Millwork
2200 West Haven Avenue                                                    -
New Lenox, IL 60451

                                                                                                                                                          2,619.60

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Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                        21,555.03
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

National Pump & Compress
P.O. Box 21160                                                            -
Beaumont, TX 77720

                                                                                                                                                            348.00
Account No.

Oce-USA, Inc.
12379 Collections Center                                                  -
Chicago, IL 60693

                                                                                                                                                          2,717.30
Account No.

Office Depot Credit Plan
Dept. 56-4200162867                                                       -
P.O. Box 9020
Des Moines, IA 50368-9020
                                                                                                                                                            179.82
Account No.

Parkwood Chicago Inc.
2100 South Foster Avenue                                                  -
Wheeling, IL 60090

                                                                                                                                                          9,875.00
Account No.                                                                   Shareholder Loan

Paul Kelly
111 S. Prospect                                                           -
Clarendon Hills, IL 60514

                                                                                                                                                      519,105.23

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Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                      532,225.35
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Penske Truck Leasing
P.O. Box 802577                                                           -
Chicago, IL 60680-0001

                                                                                                                                                          7,460.90
Account No.

Peoples Energy
Chicago, IL 60687-0001                                                    -



                                                                                                                                                          9,273.06
Account No.

Premier Plywood
P.O. Box 473                                                              -
Streamwood, IL 60107

                                                                                                                                                          9,474.15
Account No.

Quill Corporation
P.O. Box 37600                                                            -
Philadelphia, PA 19101-0600

                                                                                                                                                            502.02
Account No.

R.S. Bacon Veneer
6951 High Grove Blvd.                                                     -
Willowbrook, IL 60527-1821

                                                                                                                                                            970.92

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Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                        27,681.05
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
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Account No.                                                                                                                           E
                                                                                                                                      D

Rajack Hardware
95 Rome Street                                                            -
Farmingdale, NY 11735

                                                                                                                                                              62.00
Account No.

RG Construction
936 Larch Avenue                                                          -
Elmhurst, IL 60126

                                                                                                                                                        13,350.00
Account No.

Ryder Truck Rental Inc.
Attn: Joyce G. Johnson                                                    -
6000 Winward Parkway
Alpharetta, GA 30005
                                                                                                                                                          4,183.97
Account No.

S.E. Leite & Company
P.O. Box 3956                                                             -
Naperville, IL 60567-3956

                                                                                                                                                          1,300.00
Account No.

Safety-Kleen Corporation
P.O. Box 382066                                                           -
Pittsburgh, PA 15250-8066

                                                                                                                                                            613.87

           15 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                        19,509.84
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

SCM Group
2475-B Satelite Boulevard                                                 -
Duluth, GA 30096-5808

                                                                                                                                                            405.46
Account No.

Sherwin-Williams
5111 Dansher Boulevard                                                    -
Countryside, IL 60525-6905

                                                                                                                                                          9,436.44
Account No.

Spannuth Boiler
264 Madison Street                                                        -
Oak Park, IL 60302

                                                                                                                                                            285.00
Account No.

Springer Blueprint
10640 South Western Avenue                                                -
Chicago, IL 60643

                                                                                                                                                          2,098.00
Account No.

Sprint
P.O. Box 4181                                                             -
Carol Stream, IL 60197-4181

                                                                                                                                                            746.57

           16 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                        12,971.47
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Sprint
P.O. Box 4181                                                             -
Carol Stream, IL 60197-4181

                                                                                                                                                              10.26
Account No.

Steiner Electric Co.
2665 Paysphere Circle                                                     -
Chicago, IL 60674

                                                                                                                                                            223.88
Account No.

Stevens Supply Co. Inc.
5630 North Elston Avenue                                                  -
Chicago, IL 60646

                                                                                                                                                          2,779.16
Account No.

Strut & Supply, Inc.
22N159 Pepper Road                                                        -
Barrington, IL 60010

                                                                                                                                                            410.39
Account No.

Tensator Inc.
260 Spur Drive                                                            -
P.O. Box 400-M
Bay Shore, NY 11706-0779
                                                                                                                                                            789.60

           17 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          4,213.29
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Barsanti Woodwork Corporation                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
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Account No.                                                                                                                           E
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Tesko
7350 West Montrose Avenue                                                 -
Norridge, IL 60706

                                                                                                                                                        12,723.00
Account No.

The Home Depot
Dept. 32-2502045200                                                       -
P.O. Box 183176
Columbus, OH 43218-3176
                                                                                                                                                          2,897.30
Account No.

The Lee Quigley Company
5301 West 65th Street                                                     -
Chicago, IL 60638

                                                                                                                                                          3,040.00
Account No.

The Maiman Company
Department 1956                                                           -
Tulsa, OK 74182

                                                                                                                                                          1,166.00
Account No.

US Messenger & Logistics
7790 Quincy Street                                                        -
Willowbrook, IL 60527

                                                                                                                                                            345.67

           18 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                        20,171.97
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Barsanti Woodwork Corporation                                                                            Case No.
                                                                                                                ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
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Account No.                                                                                                                                  E
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Valendrawers
P.O. Box 1169                                                             -
Lexington, NC 27293

                                                                                                                                                                   532.41
Account No.

Vector
2128 West Fulton Avenue                                                   -
Chicago, IL 60612-2390

                                                                                                                                                                 2,145.00
Account No.

W.W. Grainger Inc.
Dept. 801595521                                                           -
Palatine, IL 60038-0001

                                                                                                                                                                   515.03
Account No.

Wagner (J.G. Braun)
P.O. Box 423                                                              -
Butler, WI 53007-0423

                                                                                                                                                                 2,520.50
Account No.

Waste Management
P.O. Box 4648                                                             -
Carol Stream, IL 60197-4648

                                                                                                                                                                 2,570.65

           19 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                                 8,283.59
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)            1,160,043.12


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B6G (Official Form 6G) (12/07)


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 In re             Barsanti Woodwork Corporation                                                               Case No.
                                                                                                     ,
                                                                                   Debtor

                       SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Pattom II                                                           Accrued Rent - $271,200
                    900 Clinton Place
                    River Forest, IL 60305




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Barsanti Woodwork Corporation                                                           Case No.
                                                                                              ,
                                                                             Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re      Barsanti Woodwork Corporation                                                           Case No.
                                                                                   Debtor(s)        Chapter    7




                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES

              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                     I, the President of the corporation named as debtor in this case, declare under penalty of perjury that I have
            read the foregoing summary and schedules, consisting of 32 sheets, and that they are true and correct to the
            best of my knowledge, information, and belief.




 Date August 26, 2013                                                  Signature   /s/ Paul Kelly
                                                                                   Paul Kelly
                                                                                   President

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re      Barsanti Woodwork Corporation                                                                     Case No.
                                                                              Debtor(s)                       Chapter        7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


              1. Income from employment or operation of business

   None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
              business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
              year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
              calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
              report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                             SOURCE
                         $113,643.69                        2013 YTD: Business Income
                         $5,279,883.44                      2012: Business Income
                         $4,847,830.91                      2011: Business Income

              2. Income other than from employment or operation of business

   None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
              for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                             SOURCE


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                                                                                                                                                            2

              3. Payments to creditors

      None    Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                   DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                     PAYMENTS                             AMOUNT PAID                 OWING

      None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                 AMOUNT
                                                                       DATES OF                                   PAID OR
                                                                       PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                       TRANSFERS                               TRANSFERS                OWING
    Fabricator Specialists                                             6/28/2013                                $1,027.12                 $0.00

    International Marble                                               6/28/2013                                 $7,830.00                     $0.00

    Moulding & Millwork                                                6/28/2013                                 $1,882.38                     $0.00
    2200 West Haven Avenue
    New Lenox, IL 60451
    Poma Marble                                                        6/28/2013                                 $7,031.00                     $0.00

    Tal-Mar Custom Fabricator                                          6/28/2013                                 $1,375.00                     $0.00

    Vector                                                             6/28/2013                                 $2,145.00                     $0.00
    2128 West Fulton Avenue
    Chicago, IL 60612-2390
    Holland Woodcrafters Inc.                                          6/26/2013; 7/15/2013                      $5,006.00                     $0.00

    Illinois System Corp.                                              6/26/2013                                   $262.50                     $0.00

    Bella Cabinets, Inc.                                               6/27/2013; 7/30/2013                      $4,997.50                     $0.00

    Eugene Monyak                                                      7/8/2013; 7/23/2013;                      $3,138.00                     $0.00
                                                                       7/31/2013; 8/5/2013;
                                                                       8/13/2013; 8/16/2013
    Mike Swiontek                                                      7/8/2013; 7/26/2013                       $1,531.92                     $0.00

    Exclusive Millwork Co.                                             7/11/2013; 7/25/2013                      $2,792.22                     $0.00

    Allocco & Miller                                                   7/16/2013                                 $2,000.00                     $0.00




*
    Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                     3

                                                                                                 AMOUNT
                                                                       DATES OF                   PAID OR
                                                                       PAYMENTS/                VALUE OF         AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                           TRANSFERS               TRANSFERS           OWING
J+T Auto Body                                                          7/15/2013                $2,600.00            $0.00

Eugene Barsanti                                                        7/23/2013                $1,170.00               $0.00
900 Clinton Place
River Forest, IL 60305
Pedro Guerrero                                                         7/23/2013; 7/31/2013;    $2,291.27               $0.00
                                                                       8/5/2013; 8/13/2013;
                                                                       8/16/2013
David Maxwell                                                          7/23/2013                  $13.21                $0.00

All Tile, Inc.                                                         7/24/2013                 $396.04                $0.00
1111 Chase Grove Village
Elk Grove Village, IL 60007
Freeborn & Peters LLP                                                  7/24/2013                $5,181.65               $0.00
311 South Wacker Drive
Suite 3000
Chicago, IL 60606
Hub International                                                      7/24/2013                $9,566.80               $0.00

Richelieu Hardware                                                     7/24/2013; 7/26/2013      $288.72                $0.00

Sierra Forest Products                                                 7/25/2013                  $50.00                $0.00

American Express                                                       7/26/2013                 $500.00                $0.00

Citibank AAdvantage                                                    7/26/2013                $1,200.00               $0.00
P.O. Box 688901
Des Moines, IA 50368-8909
Computer Network Doctor                                                7/26/2013                 $992.13                $0.00
825 Tamarack Drive
Algonquin, IL 60102
MDI Builders, Inc.                                                     7/26/2013                 $880.00                $0.00

Pattom                                                                 7/26/2013               $13,300.00               $0.00

IL Dept Employment Service                                             7/30/2013                $1,916.62               $0.00
1700 West 18th Street
Chicago, IL 60608
JC Wood Finishing                                                      7/30/2013                 $200.00                $0.00

Parksite, Inc.                                                         7/30/2013                 $813.93                $0.00

Ralph Peterson                                                         7/30/2013                 $752.87                $0.00

Steve Joslyn                                                           7/31/2013                $1,495.00               $0.00

Ivan Tzankov                                                           8/5/2013; 8/13/2013;     $1,818.25               $0.00
                                                                       8/16/2013
Reliable Finishing Products                                            8/6/2013                  $158.85                $0.00



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                                                                                                           AMOUNT
                                                                       DATES OF                             PAID OR
                                                                       PAYMENTS/                          VALUE OF           AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                         TRANSFERS             OWING
Counter Solutions                                                      8/12/2013                          $3,353.00              $0.00

Chicago Painter & Decorator                                            8/16/2013                            $372.40                   $0.00

Chicago Painters                                                       8/16/2013                            $627.00                   $0.00

Monarch Metal                                                          6/26/2013                          $1,330.29                   $0.00

Navy Island Plywood                                                    6/26/2013                            $335.83                   $0.00

RSVP Specialty Veneer                                                  6/26/2013                          $6,654.00                   $0.00

CRA / Force 5 (Bob Gereg)                                              6/19/2013; 7/2/2013;               $9,045.00                   $0.00
                                                                       7/23/2013
Selective Insurance                                                    7/2/2013                          $12,645.00                   $0.00

Humana Insurance                                                       7/19/2013                            $293.70                   $0.00

Citi Visa                                                              7/30/2013                            $300.00                   $0.00

Internal Revenue Service                                               7/31/2013                         $11,958.00                   $0.00
Cincinnati, OH 45202
Guardian Insurance                                                     8/1/2013                             $468.12                   $0.00

Illinois Department of Revenue                                         8/1/2013                           $1,655.61                   $0.00
100 West Randolph Street
Chicago, IL 60601-8866
McMaster Carr                                                          8/8/2013                             $382.26                   $0.00

Secretary of State                                                     8/8/2013                             $103.25                   $0.00

Audi Financial                                                         8/9/2013                           $1,077.11                   $0.00

Internal Revenue Service                                               8/19/2013 - Federal Tax First      $2,400.00                   $0.00
Cincinnati, OH 45202                                                   Installment

   None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
             creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                             AMOUNT STILL
       RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT                 AMOUNT PAID             OWING
Paul Kelly                                                             2012 wages                       $106,920.00              $0.00
3838 West 51st Street
Chicago, IL 60632
   President
Paul Kelly                                                             April - August 2013 wages         $48,004.00                   $0.00
3838 West 51st Street
Chicago, IL 60632
   President


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             4. Suits and administrative proceedings, executions, garnishments and attachments

   None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
             this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
             whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF     COURT OR AGENCY                                  STATUS OR
AND CASE NUMBER                                                        PROCEEDING    AND LOCATION                                     DISPOSITION
BWC Capital, LLC, as Assignee of BMO Harris                            Contract      Cook County Circuit Court                        Judgment
Bank N.A. f/ka Harris N.A. v. Barsanti Woodwork
Corporation
Case No. 2013 L 50578
Trustees of the Chicago Regional Council of   Civil                                  United States District Court for the             Judgment
Carpenters Pension Fund, Chicago Regional                                            Northern District of Illinois Eastern
Council of Carpenters Welfare Fund, Chicago                                          Division
Regional Council of Carpenters Apprentice &
Trainee Fund v. Barsanti Woodwork Corporation
Case No. 12 cv 09960
BMO Harris Bank N.A. v. Barsanti Woodwork                              Contract      Cook County Circuit Court                        Dismissed
Corp.
Case No. 2013 L 111
BMO Harris Bank N.A. v. Barsanti Woodwork                              Contract      Cook County Circuit Court                        Dismissed
Corp, Eugene C. Barsanti, and Paul M. Kelly
Case No. 2013 L 113
BMO Harris Bank N.A. v. Barsanti Woodwork                              Foreclosure   Cook County Circuit Court                        Dismissed
Corp., Constance Barsanti, Eugene Barsanti,
and Pattom II
Case No. 2013 CH 720
Chicago Regional Council of Carpenters                                 Civil         United States District Court for the             Dismissed
Pension Fund, Chicago Regional Council of                                            Northern District of Illinois Eastern
Carpenters Welfare Fund, and Chicago Regional                                        Division
Council of Carpenters Apprentice Training Fund
v. Barsanti Woodword Corp.
Case No. 12 cv 05166
Chicago Regional Council of Carpenters                                 Civil         United States District Court for the             Judgment
Pension Fund, Chicago Regional Council of                                            Northern District of Illinois Eastern
Carpenters Welfare Fund, and Chicago Regional                                        Division
Council of Carpenters Apprentice Training Fund
v. Barsanti Woodword Corp.
Case No. 13 cv 00045
Chicago Regional Council of Carpenters                                 Civil         United States District Court for the             Pending
Pension Fund, Chicago Regional Council of                                            Northern District of Illinois Eastern
Carpenters Welfare Fund, and Chicago Regional                                        Division
Council of Carpenters Apprentice Training Fund
v. Barsanti Woodword Corp.
Case No. 13 cv 04932
Chicago Regional Council of Carpenters, United                         Civil         United States District Court for the             Dismissed
Brotherhood of Carpenters and Joiners of                                             Northern District of Illinois Eastern
America v. Barsanti Woodwork Corporation                                             Division
Case No. 12 cv 04375
Trustees of the Chicago Painters and Decorators Civil                                United States District Court for the             Pending
Pension Fund and Trustees of the Chicago                                             Northern District of Illinois Eastern
Painters and Decorators Welfare Fund v.                                              Division
Barsanti Woodwork Corporation and Paul Kelly
Case No. 13 cv 00384




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CAPTION OF SUIT                                                        NATURE OF          COURT OR AGENCY                              STATUS OR
AND CASE NUMBER                                                        PROCEEDING         AND LOCATION                                 DISPOSITION
Carpenters Fringe Benefit Funds of Illinois v.                         Civil              United States District Court for the         Pending
Administrative Mgr. Angelica B. Ambrose and                                               Northern District of Illinois Eastern
Barsanti Woodwork Corporation                                                             Division
Case No. 13 cv 03577
Hanks Blueprint v. Barsanti Woodwork                                   Contract           Cook County Circuit Court                    Judgment
Case No. 2013 M5 000827
LaForce Inc. v. Barsanti Woodwork                                      Petition to        Cook County Circuit Court                    Pending
Case No. 2013 M1 500146                                                Register Foreign
                                                                       Judgment
R B Wagner Inc. v. Barsanti Woodwork                                   Contract           Cook County Circuit Court                    Pending
Case No. 2013 M1 107920
Inpro Corporation v. Barsanti Woodwork                                 Contract           Cook County Circuit Court                    Pending
Case No. 2012 M1 154403

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                          DESCRIPTION AND VALUE OF
     BENEFIT PROPERTY WAS SEIZED                                       DATE OF SEIZURE                  PROPERTY
BWC Capital LLC                                                        July 3, 2013           All real and personal property, including inventory,
687 Clear Creek Drive                                                                         equipment, accounts, chattel paper, instruments,
Osprey, FL 34229                                                                              letter-of-creditor rights, documents, deposit
                                                                                              accounts, investment property, money, other
                                                                                              rights to payment and performance and general
                                                                                              intangibles.

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                    PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                       TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                          DATE OF          DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                    ORDER                  PROPERTY




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             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT            VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                               AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                        OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                    OF PROPERTY
Freeborn & Peters LLP                                                  8/26/2013                                    $12,000.00
311 South Wacker Drive
Suite 3000
Chicago, IL 60606

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                          AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                        AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)            IN PROPERTY




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             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                        DIGITS OF ACCOUNT NUMBER,                      AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE                           OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                  AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                   LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                       DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
             Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME




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             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
             to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
             liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
             known, the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                  STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity
             securities within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS




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    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                        DATES SERVICES RENDERED
Savina Tzankova                                                                                         2005-2013
3838 W. 51st Street
Chicago, IL 60632

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
             books of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                 DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                 ADDRESS
Savina Tzankova                                                                      3838 W. 51st Street
                                                                                     Chicago, IL 60632

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                              DATE ISSUED
Harris Bank N.A.                                                                              2007-2013
111 West Monroe Street
Chicago, IL 60603

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                        DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                            RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                           PERCENTAGE OF INTEREST




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   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP
Paul Kelly                                                             President                         100%
3838 West 51st Street
Chicago, IL 60632

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY
Paul Kelly                                                             2012 wages                                    $106,920
3838 West 51st Street
Chicago, IL 60632
   President
Paul Kelly                                                             April - August 2013 wages                     $48,004
3838 West 51st Street
Chicago, IL 60632
   President

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as
             an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)




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         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, information and belief.


Date August 26, 2013                                                   Signature   /s/ Paul Kelly
                                                                                   Paul Kelly
                                                                                   President

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re       Barsanti Woodwork Corporation                                                                    Case No.
                                                                              Debtor(s)                       Chapter      7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 12,000.00
             Prior to the filing of this statement I have received                                        $                 12,000.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:

                  Debtor              Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
              reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
              522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       August 26, 2013                                                  /s/ Thomas R. Fawkes
                                                                              Thomas R. Fawkes
                                                                              Freeborn & Peters LLP
                                                                              311 South Wacker Drive
                                                                              Suite 3000
                                                                              Chicago, IL 60606
                                                                              (312) 360-6000 Fax: (312) 360-6520




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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re     Barsanti Woodwork Corporation                                                                Case No.
                                                                                  Debtor(s)             Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                               110




           The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
           (our) knowledge.




Date:       August 26, 2013                                            /s/ Paul Kelly
                                                                       Paul Kelly/President
                                                                       Signer/Title




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                      A-1 Sanitary Rag Company
                      3166 South River Road
                      Suite 25
                      Des Plaines, IL 60018


                      AAA Design, Inc.
                      2227 South St. Louis Avenue
                      Chicago, IL 60623


                      Adelman & Gettleman
                      53 West Jackson
                      Suite 1050
                      Chicago, IL 60604

                      Adminstrative Retiremen
                      2S.545 IL Route 53
                      Glen Ellyn, IL 60137


                      Advantage Glass
                      70 Rawls Road
                      Des Plaines, IL 60018


                      Aetna Plywood, Inc.
                      P.O. Box 774315
                      4315 Solution Center
                      Chicago, IL 60677-4003


                      Affordable Cabinets
                      1550 West Fullerton
                      Unit B
                      Addison, IL 60101


                      All Tile, Inc.
                      1111 Chase Grove Village
                      Elk Grove Village, IL 60007


                      American Funds
                      Finance and Accounting
                      P.O. Box 659530
                      San Antonio, TX 78265-9530


                      AMSI, an Infor Company
                      NW 5421
                      P.O. Box 1450
                      Minneapolis, MN 55485-5421
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                  Architectual Grille
                  42-Second Avenue
                  Brooklyn, NY 11215


                  Ashland Propane Inc.
                  16525 Vincennes Avenue
                  P.O. Box 1108
                  South Holland, IL 60473-7108


                  AT&T
                  P.O. Box 8100
                  Aurora, IL 60507-8100


                  Baer Supply / Wurth
                  8927 South Octavia Avenue
                  Bridgeview, IL 60455


                  Breaker Press Co. Inc.
                  2421 South Western Avenue
                  Chicago, IL 60608


                  Bull Sharpening
                  6332 West Roosevelt Road
                  Oak Park, IL 60304


                  BWC Capital LLC
                  687 Clear Creek Drive
                  Osprey, FL 34229


                  C & H Distributors
                  22133 Network Place
                  Chicago, IL 60673


                  Capitol Hardware Mfg. Co.
                  L&P Financial Services
                  P.O. Box 952092
                  Saint Louis, MO 63195-2092


                  Century Door
                  1301 Landmeier Road
                  Elk Grove Village, IL 60007


                  Charles Horn Lumber Co.
                  2440 South Damen Avenue
                  Chicago, IL 60608
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                  Chicago Fireplace & Chimney
                  7015 West North Avenue
                  Oak Park, IL 60302


                  Chicago Regional Council Carpenters
                  12 East Erie Street
                  Chicago, IL 60611


                  Chicago Regional Council of
                  Carpenters Pension Fund
                  12 East Erie Street
                  Chicago, IL 60611


                  Chicago Tribune
                  Attn: Photo Sales
                  425 North Michigan Avenue
                  Chicago, IL 60611


                  Citi AT&T Universal Card
                  Processing Center
                  Des Moines, IA 50363


                  Citibank AAdvantage
                  P.O. Box 688901
                  Des Moines, IA 50368-8909


                  City of Chicago
                  Department of Revenue
                  8212 Innovation Way
                  Chicago, IL 60682-0082


                  City of Chicago
                  Water Management
                  P.O. Box 6330
                  Chicago, IL 60680-6330


                  Clark & Barrow
                  353 West Grand Avenue
                  Chicago, IL 60610


                  Coca-Cola Bottling Co.
                  Lake Shore Division
                  2335 Paysphere Circle
                  Chicago, IL 60674
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                  Comed
                  P.O. Box 6111
                  Carol Stream, IL 60197-6111


                  Commercial Interiors
                  631 Lunt Avenue
                  Schaumburg, IL 60193


                  Computer Network Doctor
                  825 Tamarack Drive
                  Algonquin, IL 60102


                  Concentra Medical Center
                  P.O. Box 488
                  Lombard, IL 60148


                  Crowe Chizek
                  P.O. Box 145415
                  Cincinnati, OH 45250-9791


                  Cushing and Company
                  Dept. 10161
                  P.O. Box 87618
                  Chicago, IL 60680-0618


                  Custom Brokers's Supply
                  P.O. Box 1817
                  Palatine, IL 60078


                  Daniel McNally
                  Whitfield Mcgann & Ketterman
                  111 East Wacker Drive, Suite 2600
                  Chicago, IL 60601


                  Defrees & Fiske
                  200 South Michegan Avenue
                  Suite 1100
                  Chicago, IL 60604


                  Denker & Muscarello, LLC
                  4N701 School Road
                  Saint Charles, IL 60175
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                  Dooge Veneers Inc.
                  4585 Airwest S.E.
                  Grand Rapids, MI 49512


                  E Kinast / Richelieu
                  6350 Church Road
                  Hanover Park, IL 60133


                  Federal Unemployment
                  Department of the Treasury
                  Internal Revenue Service
                  Cincinnati, OH 45999-0046


                  Gene Barsanti
                  900 Clinton Place
                  River Forest, IL 60305


                  General Cutting Tools
                  6440 North Ridgeway Avenue
                  Lincolnwood, IL 60712


                  GHC Mechanical Inc.
                  990 Pauly Drive
                  Elk Grove Village, IL 60007


                  Hafele America
                  P.O. Box 890779
                  Charlotte, NC 28289-0779


                  Hank's Blue Print
                  7355 West Archer Avenue
                  Suite G
                  Summit Argo, IL 60501


                  Harris Equipment
                  2010 North Ruby Street
                  Melrose Park, IL 60160


                  Hinckley & Schmitt inc.
                  Attn: Donna
                  P.O. Box 1888
                  60499-1888
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                  IDM Group
                  832 West Erie Street
                  Chicago, IL 60632


                  IL Dept Employment Service
                  1700 West 18th Street
                  Chicago, IL 60608


                  IL Sales Tax
                  Illinois Department of Revenue
                  P.O. Box 19034
                  Springfield, IL 62794-9034


                  Illinois Department of Revenue
                  100 West Randolph Street
                  Chicago, IL 60601-8866


                  Inpro Corporation
                  c/o Teller Levit Silvertrust
                  19 South LaSalle Street, Suite 701
                  Chicago, IL 60603


                  Institutional Equipment
                  704 Veterans Parkway
                  Unit B
                  Bolingbrook, IL 60440-4948


                  Internal Revenue Service
                  Cincinnati, OH 45202



                  Ironmonger Inc.
                  122 West Illinois Street
                  Chicago, IL 60610-4506


                  Jayaram Law Group
                  330 N. LaSalle #29FL
                  Chicago, IL 60602


                  Knoll Textiles
                  P.O. Box 841366
                  Dallas, TX 75284-1366
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                  L-K Fire Extinguisher
                  4016 South Clinton Avenue
                  Berwyn, IL 60402


                  La Force
                  1060 West Mason Street
                  P.O. Box 10068
                  Green Bay, WI 54307


                  Leonard V. Stutz
                  Plumbing & Heating
                  272 West Lake Street
                  Elmhurst, IL 60126

                  Leyden L.S. Inc.
                  P.O. Box 5037
                  Glendale Heights, IL 60139-5037


                  M.J. Millwork Inc.
                  1375 Paramount Parkway
                  Batavia, IL 60510


                  Macke Water System
                  P.O. Box 545
                  Glendale Heights, IL 60139-5037


                  Mailfinance
                  25881 Network Place
                  Chicago, IL 60673-1258


                  Metal Creations Inc.
                  2444 North Pulaski Road
                  Chicago, IL 60639-2114


                  Midwest Saw, Inc.
                  850 Meadowview Crossing
                  Unit #4
                  West Chicago, IL 60185


                  Midwest Time Recorder Inc.
                  7964 South Madison Street
                  Burr Ridge, IL 60521-5806
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                  Missouri Equipment Co.
                  2222 North 9th Street
                  Saint Louis, MO 63102


                  Moulding & Millwork
                  2200 West Haven Avenue
                  New Lenox, IL 60451


                  National Pump & Compress
                  P.O. Box 21160
                  Beaumont, TX 77720


                  Oce-USA, Inc.
                  12379 Collections Center
                  Chicago, IL 60693


                  Office Depot Credit Plan
                  Dept. 56-4200162867
                  P.O. Box 9020
                  Des Moines, IA 50368-9020


                  Parkwood Chicago Inc.
                  2100 South Foster Avenue
                  Wheeling, IL 60090


                  Pattom II
                  900 Clinton Place
                  River Forest, IL 60305


                  Paul Kelly
                  111 S. Prospect
                  Clarendon Hills, IL 60514


                  Penske Truck Leasing
                  P.O. Box 802577
                  Chicago, IL 60680-0001


                  Peoples Energy
                  Chicago, IL 60687-0001



                  Premier Plywood
                  P.O. Box 473
                  Streamwood, IL 60107
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                  Quill Corporation
                  P.O. Box 37600
                  Philadelphia, PA 19101-0600


                  R.S. Bacon Veneer
                  6951 High Grove Blvd.
                  Willowbrook, IL 60527-1821


                  Rajack Hardware
                  95 Rome Street
                  Farmingdale, NY 11735


                  Registered Agent Solutions
                  120 East Market Street, Suite 808
                  Indianapolis, IN 46204


                  RG Construction
                  936 Larch Avenue
                  Elmhurst, IL 60126


                  Ryder Truck Rental Inc.
                  Attn: Joyce G. Johnson
                  6000 Winward Parkway
                  Alpharetta, GA 30005


                  S.E. Leite & Company
                  P.O. Box 3956
                  Naperville, IL 60567-3956


                  Safety-Kleen Corporation
                  P.O. Box 382066
                  Pittsburgh, PA 15250-8066


                  SCM Group
                  2475-B Satelite Boulevard
                  Duluth, GA 30096-5808


                  Sherwin-Williams
                  5111 Dansher Boulevard
                  Countryside, IL 60525-6905


                  Spannuth Boiler
                  264 Madison Street
                  Oak Park, IL 60302
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                  Springer Blueprint
                  10640 South Western Avenue
                  Chicago, IL 60643


                  Sprint
                  P.O. Box 4181
                  Carol Stream, IL 60197-4181


                  Sprint
                  P.O. Box 4181
                  Carol Stream, IL 60197-4181


                  Steiner Electric Co.
                  2665 Paysphere Circle
                  Chicago, IL 60674


                  Stevens Supply Co. Inc.
                  5630 North Elston Avenue
                  Chicago, IL 60646


                  Strut & Supply, Inc.
                  22N159 Pepper Road
                  Barrington, IL 60010


                  Tensator Inc.
                  260 Spur Drive
                  P.O. Box 400-M
                  Bay Shore, NY 11706-0779


                  Tesko
                  7350 West Montrose Avenue
                  Norridge, IL 60706


                  The Home Depot
                  Dept. 32-2502045200
                  P.O. Box 183176
                  Columbus, OH 43218-3176


                  The Lee Quigley Company
                  5301 West 65th Street
                  Chicago, IL 60638


                  The Maiman Company
                  Department 1956
                  Tulsa, OK 74182
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                  US Messenger & Logistics
                  7790 Quincy Street
                  Willowbrook, IL 60527


                  Valendrawers
                  P.O. Box 1169
                  Lexington, NC 27293


                  Vector
                  2128 West Fulton Avenue
                  Chicago, IL 60612-2390


                  W.W. Grainger Inc.
                  Dept. 801595521
                  Palatine, IL 60038-0001


                  Wagner (J.G. Braun)
                  P.O. Box 423
                  Butler, WI 53007-0423


                  Waste Management
                  P.O. Box 4648
                  Carol Stream, IL 60197-4648
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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re     Barsanti Woodwork Corporation                                                               Case No.
                                                                               Debtor(s)               Chapter    7




                                        CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Barsanti Woodwork Corporation in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



   None [Check if applicable]




August 26, 2013                                                    /s/ Thomas R. Fawkes
Date                                                               Thomas R. Fawkes
                                                                   Signature of Attorney or Litigant
                                                                   Counsel for Barsanti Woodwork Corporation
                                                                   Freeborn & Peters LLP
                                                                   311 South Wacker Drive
                                                                   Suite 3000
                                                                   Chicago, IL 60606
                                                                   (312) 360-6000 Fax:(312) 360-6520




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